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                            UNITED STATES DISTRICT COURT
                                 DISTRICT OF MAINE


HEATHER THRASHER                              )
of Strong, County of Franklin and State of    )
Maine                                         )
                                              )
                             Plaintiff        )
                                              )
    vs.                                       )
                                              )
                                              )
                                              )
GREYHOUND LINES,                              )
INCORPORATED                                  )
                                                CIVIL ACTION DOCKET NO._______
a Corporation duly organized and              )
                                                JURY TRIAL DEMANDED
incorporated under the laws of Delaware       )
with a principal place of business in Dallas, )
County of Dallas, and State of Texas          )
                                              )
                           Defendant          )
                                              )
                                              )
                                              )
                                              )
                                              )
                                              )
                                              )

       NOW COMES the Plaintiff, Heather Thrasher, (“Heather”), by and through counsel,

TERRY GARMEY & ASSOCIATES, and complains against the Defendant, Greyhound Lines,

Inc., (“Greyhound”) as follows:

                     INTRODUCTION AND SUMMARY OF ACTION

       1.     This is a negligence action against Greyhound. Heather, an and adult with mild

retardation and a survivor of child abuse, was a passenger on Defendant Greyhound’s bus when

Defendant’s bus driver negligently collided with another vehicle in transit. The impact caused
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Heather physical injuries and caused her to severely relapse in Post-Traumatic Stress Disorder

and Major Depression.

                                              PARTIES

       2.      Plaintiff Heather Thrasher is an individual who resides in the Town of Strong,

County of Franklin, and State of Maine.

       3.      Upon information and belief, Defendant Greyhound Lines, Inc. Company, LLC is

a corporation duly organized and incorporated under the laws of Delaware with a principal place

of business in the City of Dallas, County of Dallas, and State of Texas, and is authorized to and

does conduct business in the State of Maine.



                                     JURISDICTION AND VENUE

       4.      This Court has original jurisdiction over all claims herein pursuant to 28 U.S.C. §

1332 in that the Plaintiff is a resident of the State of Maine, and Defendant Greyhound is a

limited liability company duly organized and incorporated under the laws of Delaware with a

principal place of business in the City of Dallas, County of Dallas, and State of Texas, and is

authorized to and does conduct business in the State of Maine; and because the amount in

controversy exceeds $75,000, exclusive of interests and costs.

       5.      This Court has personal jurisdiction over Defendant Greyhound pursuant to Rule

4 of the Federal Rules of Civil Procedure and 14 M.R.S.A. § 704-A insofar as Defendant

Greyhound is authorized to and does conduct business in the State of Maine.

       6.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b) and (c) insofar as

Defendant Greyhound resides in this judicial district and is subject to the court’s personal

jurisdiction with respect to the civil action in question.



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                                  FACTUAL BACKGROUND

       7.      Plaintiff Heather Michelle Thrasher, born Sandi Jane Rutz, was born with

moderate mental retardation.

       8.      Plaintiff Heather Thrasher suffered child abuse by her father from an early age

until the Department of Health and Human Services removed Heather and her siblings from his

home and he was arrested.

       9.      Plaintiff Heather Thrasher was diagnosed and treated with Post-Traumatic Stress

Disorder and Major Depression as a result of the abuse she suffered from her father.

       10.     Plaintiff Heather Thrasher was adopted by Karen Thrasher on October 21, 2004

and her name was formally changed to Heather Michelle Thrasher.

       11.     Plaintiff Heather Thrasher moved to Maine with her adopted sister Anita Holland

and the eleven other mentally impaired adults under Anita Holland’s care because her adopted

mother, Karen Thrasher developed Alzheimer’s disease and could no longer care for her.

       12.     After Plaintiff Heather Thrasher spent time with Anita Holland and her new

family, her Post-Traumatic Stress Disorder and Major Depression symptoms significantly

improved and she was able to socialize with family and friends and engage in independent

activities. She participated in games, cooking, and shopping trips with her family and was able

to travel on four cross country road-trips without assistance.

       13.     By January 2013, Plaintiff Heather Thrasher’s Post-Traumatic Stress Disorder

symptoms improved to the point where she could engage in a cross-country road trip without

accompanying family members.




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        14.     In January 2013, Plaintiff Heather Thrasher began a trip on Defendant

Greyhound’s bus to travel from Maine to Michigan to pick up her sister, Tara Thrasher, and

bring her back to Maine.

        15.     On January 17, 2013, Plaintiff Heather Thrasher was a passenger on Defendant

Greyhound’s bus, driven by Mark Harris (“Harris”).

        16.     At all material times hereto, Harris was acting within the scope of his employment

of Defendant Greyhound Lines, Inc.

        17.     On the morning of January 17, 2013, Harris was driving Plaintiff Heather

Thrasher and other passengers in Defendant Greyhound’s bus eastbound on Route 90 in the

McKean Township, County of Erie, and State of Pennsylvania, en route to Buffalo, New York.

        18.     At approximately 7:15 a.m., Defendant Greyhound’s employee driver, Harris

carelessly and negligently failed to observe a vehicle in front of him also traveling eastbound on

Route 90 and collided with said vehicle, (“the crash”) causing Defendant Greyhound’s bus to

swerve into a ditch on the side of Route 90.

        19.     As a result of his negligent driving, Defendant Greyhound’s employee driver

Harris was cited by the Pennsylvania state police for careless driving.

        20.     The crash caused Plaintiff Heather Thrasher to vault forward and slam into the

floor of Defendant Greyhound’s bus where she sustained injuries to her neck, back, and knees.

        21.     The crash caused Plaintiff Heather Thrasher to experience a severe relapse of

Post-Traumatic Stress Disorder and Major Depression. She can no longer sleep in a room by

herself and she is in constant fear that her father will attack her.

        22.     As a result of the crash, Plaintiff Heather Thrasher became emotionally

withdrawn and stopped doing many of the activities she once enjoyed. She stopped socializing



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with her family, and ceased playing games, traveling alone, or going out into the community to

shop and eat at restaurants.

                                          COUNT I
                           Negligence Against Defendant Greyhound

       23.     Plaintiff repeats and realleges the allegations contained in Paragraphs 1 through

22 above as if set forth fully herein.

       24.     Plaintiff Heather Thrasher was a paying customer of Defendant Greyhound and

was a passenger on Defendant Greyhound’s bus on January 17, 2013, at the time of the crash.

       25.     Defendant Greyhound’s employee driver, Harris, was acting within the scope of

his employment with Defendant Greyhound at the time of the crash on January 17, 2013.

       26.     Defendant Greyhound owed a duty to Plaintiff Heather Thrasher to safely

transport her to her destination.

       27.     Defendant Greyhound breached that duty to Plaintiff Heather Thrasher, including

by its failure to properly train its employee driver Harris, to operate Defendant’s bus with

reasonable care and by its employee driver Harris failing to observe the vehicle in front of him

and colliding with that vehicle.

       28.     As a result of the carelessness and negligence of Defendant Greyhound, as

discussed above, Plaintiff Heather Thrasher has suffered and will continue to suffer physical and

damages and has incurred and in the future will continue to incur expenses for medical treatment.



       WHEREFORE, Plaintiffs demand judgment against Defendant Greyhound Lines,

Incorporated for damages which this Court deems reasonable together with interest and costs.




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     Dated at Portland, Maine this 6th day of January, 2015


                                                        /s/ David Kreisler__________
                                                        David Kreisler, Esquire (8098)
                                                        Gary Goldberg, Esquire (320)
                                                        Attorneys for Plaintiffs

TERRY GARMEY & ASSOCIATES
482 Congress Street, Suite 402
Portland, ME 04101
Tel: (207) 899-4644
Fax: (207) 541-9242




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